                                        Case 3:20-cr-00249-RS            Document 132       Filed 12/23/22    Page 1 of 2




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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11     UNITED STATES OF AMERICA,                          Case No. 20-cr-00249-RS (LB)
                                  12                    Plaintiff,
Northern District of California




                                                                                            DISCOVERY ORDER
 United States District Court




                                  13             v.
                                                                                            Re: ECF No. 147
                                  14     ROWLAND MARCUS ANDRADE,
                                  15                    Defendants.

                                  16

                                  17      The court held a discovery hearing on December 22, 2023 about Mr. Andrade’s motion to

                                  18   compel discovery. The parties’ papers collectively are hundreds of pages, and parts of Mr.

                                  19   Andrade’s counsel’s supporting declaration are under seal because they involve trial strategy.

                                  20   The parties attach many exhibits, including those reflecting their meet-and-confer process. The

                                  21   current landscape is not a workable one for several reasons: (1) the parties cannot meaningfully

                                  22   discuss whether something is fairly Rule 16 material if the government cannot test or at least

                                  23   respond to Mr. Andrade’s under-seal reasons; (2) the meet-and-confer process has been productive

                                  24   because when the parties meet, they do sort out baseline issues (such as whether discovery actually

                                  25   exists); and (3) the volume of disputes can be whittled down so that a hearing can be more

                                  26   productive. In aid of that process, the court ordered the following.

                                  27      First, the defense team identified the Abramoff documents as the most important. The

                                  28   government said that it had produced documents and its concern was more with the wide-ranging

                                       ORDER – No. 20-cr-00249-RS (LB)
                                         Case 3:20-cr-00249-RS           Document 132          Filed 12/23/22     Page 2 of 2




                                   1   requests for information that sometimes didn’t exist or was not in its control. For documents that

                                   2   the government does have, the court asked it to consider whether it cares. If they exist (in a 302

                                   3   form, for example), and can be produced, then that might be the end of the dispute because it will

                                   4   bring clarity to the defense team. If only because of the government’s Brady obligations, that

                                   5   might save time. That said, the court cannot discern any significance to some of the discovery

                                   6   (e.g., there are no current Saler 302s, and the earlier 302s date back twenty years). Also, the

                                   7   government’s point about under-seal filings is fair: the court asked the defense team to consider

                                   8   lifting some of its redactions.

                                   9       Second, discovery, especially in a big case, is iterative. The court asked Mr. Andrade to pick

                                  10   the top five things he wants and to tell the government. The government then should consider

                                  11   whether it matters and produce them if it can. The parties must meet and confer by any means but

                                  12   in the end, at least by telephone, to try to narrow their disputes. Then, they can file a short letter
Northern District of California
 United States District Court




                                  13   brief (around five pages) that summarizes their respective positions and cites by ECF number and

                                  14   exhibit number to any earlier argument and exhibits relating to the dispute. The court would prefer

                                  15   it if the parties did not cite to their back-and-forth letters about the dispute. Instead, they should

                                  16   focus on the merits of their arguments. This process is meant to focus the arguments and point

                                  17   specifically to the relevant sections of the earlier-filed materials.

                                  18       The court will do its best to have a discovery hearing within a week of the parties’ filing their

                                  19   letter brief.

                                  20        IT IS SO ORDERED.

                                  21       Dated: December 23, 2022

                                  22                                                      ______________________________________
                                                                                          LAUREL BEELER
                                  23                                                      United States Magistrate Judge
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                                       ORDER – No. 17-cr-00249-RS (LB)                     2
